             Case 2:18-cr-00422-DJH Document 200-7 Filed 06/28/18 Page 1 of 2




 1
                                 UNITED STATES DISTRICT COURT
 2
                                 FOR THE DISTRICT OF ARIZONA
 3
 4   United States of America,                         CASE NO. CR-18-00422-PHX-SPL(BSB)
 5
                    Plaintiff,                         CERTIFICATE OF PAUL J. CAMBRIA,
 6          vs.                                        JR.,IN SUPPORT OF DEFENDANT
                                                       MICHAEL LACEY'S MOTION FOR
 7
     Michael Lacey, et al.,                            DISCLOSURE OF DOCUMENTS
 8                                                     RELATED TO CARL FERRER'S
                    Defendants.                        WAIVER OF PRIVILEGE
 9
10
11
12   STATE OF NEW YORK            )
     COUNTY OF ERIE               )ss.:
13   CITY OF BUFFALO              )

14
15   Paul J. Cambria, Jr., Esq., being duly sworn, certifies that:

16                  1)     I ain an attorney at law duly licensed to practice in the State of New
17   York and am a partner in the law firm of Lipsitz Green Sciine Cambria LLP, located at 42
18
     Delaware Avenue, Suite 300, Buffalo, New York, attorneys for Defendant Michael Lacey. I
19
     was admitted to this Court pro hac vice for the instant prosecution.
20
21                 2)      I make this certificate based on personal knowledge and in support of

22   Defendant Michael Lacey's Motion for Disclosure of Documents Related to Carl Ferrer's
23
     Waiver of Privilege ("Defendant's Motion).
24
                   3)      As set forth in greater detail in the Memorandum of Points and
25
26   Authorities in Support of Defendant's Motion, on May 1, 2018, Michael Piccarreta, counsel

27
28
             Case 2:18-cr-00422-DJH Document 200-7 Filed 06/28/18 Page 2 of 2



     for Andrew Padilla, requested the government to provide defendants with prompt disclosure
 1
 2   of all documents related to Mr. Ferrer's waiver of privilege.

 3                 4)       The government declined this request.
 4
                   5)       Mr. Piccarreta personally consulted with the government in a good faith
 5
     and sincere effort to resolve this discovery dispute without the filing of a motion.
 6
 7                 6)       Unfortunately, the parties have reached an impasse and are unable to

 8   reach a satisfactory resolution of these discovery demand. In light of this impasse, it was
 9
     necessary to file Defendant's Motion with this Court.
10
                   7)       I therefore certify, pursuant to LRCrim 12.1 and LRCiv 7.2(j), that after
11
12   personal consultation and sincere efforts to do so, counsel have been unable to satisfactorily

13   resolve this matter.
14
15
     DATED:        June 28,2018           Respectfully Submitted,
16
                                          LIl'SITZ GREEN SCIlVIE CAMBRIA LLP
17
18                                        /s/    Paul.I. Cambf^ia Jr.
                                                 PAUL J. CAMBRIA,JR.
19
                                                 Attorneys for Defendant Michael Lacey
20   Sworn to before me this
     28th day of June, 2018.
21
22   s/ April Kelly
     Commissioner of Deeds
23   In and For the City of Buffalo, N.Y.
24   My Commission expires December 31, 2018

25
26
27
28
